Case 2:12-cr-00049-RMP   ECF No. 461   filed 09/13/13   PageID.2135 Page 1 of 6
Case 2:12-cr-00049-RMP   ECF No. 461   filed 09/13/13   PageID.2136 Page 2 of 6
Case 2:12-cr-00049-RMP   ECF No. 461   filed 09/13/13   PageID.2137 Page 3 of 6
Case 2:12-cr-00049-RMP   ECF No. 461   filed 09/13/13   PageID.2138 Page 4 of 6
Case 2:12-cr-00049-RMP   ECF No. 461   filed 09/13/13   PageID.2139 Page 5 of 6
Case 2:12-cr-00049-RMP   ECF No. 461   filed 09/13/13   PageID.2140 Page 6 of 6
